Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 1 of 43. PageID #: 20490




                        Exhibit A
ase: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 2 of 43. PageID #: 2049
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 3 of 43. PageID #: 2049
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 4 of 43. PageID #: 20493
ase: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 5 of 43. PageID #: 204
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 6 of 43. PageID #: 20495
ase: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 7 of 43. PageID #: 204
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 8 of 43. PageID #: 20497
ase: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 9 of 43. PageID #: 2049
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 10 of 43. PageID #: 20499
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 11 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 12 of 43. PageID #: 20501
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 13 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 14 of 43. PageID #: 20503
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 15 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 16 of 43. PageID #: 20505
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 17 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 18 of 43. PageID #: 2050
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 19 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 20 of 43. PageID #: 2050
ase: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 21 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 22 of 43. PageID #: 20511
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 23 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 24 of 43. PageID #: 20513
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 25 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 26 of 43. PageID #: 20515
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 27 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 28 of 43. PageID #: 20517
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 29 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 30 of 43. PageID #: 20519
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 31 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 32 of 43. PageID #: 20521
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 33 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 34 of 43. PageID #: 20523
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 35 of 43. PageID #: 205
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 36 of 43. PageID #: 20525
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 37 of 43. PageID #: 20
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 38 of 43. PageID #: 20527
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 39 of 43. PageID #: 20
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 40 of 43. PageID #: 20529
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 41 of 43. PageID #: 20
Case: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 42 of 43. PageID #: 20531
se: 1:17-md-02804-DAP Doc #: 875-1 Filed: 08/10/18 43 of 43. PageID #: 205
